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Your Honor,

I am writing in support by sharing my experience and appreciation of my friend Jeff Etter. Jeff
informed me around a month ago that he has been involved with the January 6 events and that he
very much regrets putting himself in the event that transpired. His loyalty as a friend, family
man, and veteran should be revered as someone who gives himself to those around him.

Jeff and I have been friends for almost 2 decades, and his character has remained consistent. That
of family values, principles that support loyalty, accountability, and being a supportive friend.
He has always been there for me to help talk to me through certain situations that come up with
work, family advice on parenting situations, and challenging me to be a more selfless spouse.

His focus on being a good father to his two sons Eli and Owen is to be admired. Jeff aligns his
priorities of being a good father, a good husband, and provider, with his time spending hours
practicing sports or in study with the kids. His family comes first and it’s great to see how he has
cared for and developed both of his sons whether it be baseball, swimming, etc. He always
encourages them to be the best they can be and also instills the same values he grew up with. Jeff
also has done a fantastic job raising his daughter Olivia with Megan. Cultivating her field hockey
skills and teaching her the importance of perseverance.

As a husband to Megan, Jeff supports her emotionally, and also provides for the family. Jeff and
I have worked together in the past, and they have always opened up their home to me to cook
dinner and gave me a place to stay while I was in town.

During our time working together, Jeff’s business acumen and support for his customers in the
medical device industry helped nurses and surgeons treat their patients better with his experience
in providing the newest technology in the minimally invasive surgical space. To be successful in
the healthcare industry, it is a prerequisite and expectation to have integrity with a strong
character in an environment of almost total autonomy. It is very difficult for one to be successful
over a long period of time without having these intrinsic values and character. I have experienced
them first hand.

In times of personal struggle, Jeff has given selfless advice that has caused me to challenge
myself to be a better man, husband, and father. We all make mistakes in life, and I don’t believe
this should define Jeff as a person, taking into consideration all of the other wonderful things that
Jeff is and stands for.

Best regards,


Mark Bonfiglio
